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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN


ZOYA QAIYUM, Individually and On Behalf   No. 5:21-cv-11528-JEL-APP
of All Others Similarly Situated,
                                          District Judge Judith E. Levy
          Plaintiff,
                                          Magistrate Judge Anthony P. Patti
    v.

ROCKET COMPANIES, INC., JAY
FARNER, JULIE BOOTH, ROBERT DEAN
WALTERS, and DANIEL GILBERT,

         Defendants.

OWEN ARENT, Individually and On Behalf
of All Others Similarly Situated,         No. 5:21-cv-11618-JEL-APP

          Plaintiff,                      District Judge Judith E. Levy

    v.                                    Magistrate Judge Anthony P. Patti

ROCKET COMPANIES, INC., JAY
FARNER, JULIE BOOTH, ROBERT DEAN
WALTERS, and DANIEL GILBERT,

         Defendants.



   MOTION OF CARL SHUPE FOR CONSOLIDATION OF RELATED ACTIONS,
               APPOINTMENT AS LEAD PLAINTIFF, AND
             APPROVAL OF SELECTION OF LEAD COUNSEL
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       PLEASE TAKE NOTICE that proposed Lead Plaintiff Carl Shupe respectfully moves the

Court, pursuant to the Federal Rules of Civil Procedure and Section 21D(a)(3) of the Securities

Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. § 78u-4(a)(3), as amended by the Private

Securities Litigation Reform Act of 1995 (the “PSLRA”), for the entry of an Order: (1)

consolidating the above-captioned related actions; (2) appointing Mr. Shupe as Lead Plaintiff;

(3) approving his selection of Labaton Sucharow LLP as Lead Counsel for the Class and Allen

Brothers PLLC as Liaison Counsel to the Class; and (4) granting such other and further relief as

the Court may deem just and proper (the “Motion”).

       This Motion is made on the grounds that Mr. Shupe believes he is the “most adequate

plaintiff” under the PSLRA and should therefore be appointed Lead Plaintiff. Mr. Shupe has, to

his counsel’s knowledge, the “largest financial interest” in the relief sought by the Class in this

action. Mr. Shupe also otherwise satisfies the requirements of Federal Rule of Civil Procedure 23

because his claims are typical of other Class members’ claims, and because he will fairly and

adequately represent the Class. Further, Mr. Shupe will provide effective monitoring and

supervision of counsel.

       Mr. Shupe respectfully requests oral argument.

       This Motion is based upon the accompanying supporting Memorandum of Law, the Index

of Exhibits filed herewith, the pleadings and other filings herein, and such other written or oral

argument as may be permitted by the Court.

       WHEREFORE, Mr. Shupe respectfully requests that the Court grant his motion and enter

an Order: (1) consolidating the above-captioned related actions; (2) appointing Mr. Shupe as Lead

Plaintiff; (3) approving Mr. Shupe’s selection of Labaton Sucharow LLP as Lead Counsel for the




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Class and Allen Brothers PLLC as Liaison Counsel to the Class; and (4) granting such other and

further relief as the Court may deem just and proper.


                                  LOCAL RULE 7.1 STATEMENT

       Pursuant to Local Rule 7.1(a) and Your Honor’s Practice Guidelines for Motion Practice,

parties are required to seek a concurrence before filing a motion. Because of the PSLRA’s

procedure, however, whereby any “purported class member . . . including any motion by a class

member who is not individually named as a plaintiff in the complaint” may file a motion for

appointment as Lead Plaintiff, 15 U.S.C. §78u-4(a)(3)(B)(i), Mr. Shupe will not know what other

Class members, if any, will seek appointment as Lead Plaintiff until after motions are filed on or

before August 30, 2021.      Accordingly, Mr. Shupe respectfully requests that this conferral

requirement be waived in this narrow instance.


DATED: August 30, 2021                       Respectfully Submitted,


                                             /s/ James P. Allen, Sr.

                                             James P. Allen, Sr. (P52885)
                                             Neil B. Pioch (P67677)
                                             ALLEN BROTHERS PLLC
                                             400 Monroe Street, Suite 620
                                             Detroit, Michigan 48226
                                             Telephone: (313) 962-7777
                                             Facsimile: (313) 962-0581
                                             jamesallen@allenbrotherspllc.com
                                             neilpioch@allenbrotherspllc.com

                                             Proposed Liaison Counsel for the Class

                                             Christopher J. Keller (pro hac vice forthcoming)
                                             Eric J. Belfi (pro hac vice forthcoming)
                                             Francis P. McConville (pro hac vice forthcoming)
                                             LABATON SUCHAROW LLP
                                             140 Broadway
                                             New York, New York 10005


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                                   Telephone: (212) 907-0700
                                   Facsimile: (212) 818-0477
                                   ckeller@labaton.com
                                   ebelfi@labaton.com
                                   fmcconville@labaton.com

                                   Counsel for Proposed Lead Plaintiff,
                                   and Proposed Lead Counsel for the Class

                                   Guillaume Buell (pro hac vice forthcoming)
                                   THORNTON LAW FIRM LLP
                                   One Lincoln Street
                                   Boston, Massachusetts 02111
                                   Telephone: (617) 720-1333
                                   Facsimile: (617) 720-2445
                                   gbuell@tenlaw.com

                                   Additional Counsel for Proposed Lead Plaintiff




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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN


ZOYA QAIYUM, Individually and On Behalf
of All Others Similarly Situated,
                                          No. 5:21-cv-11528-JEL-APP
          Plaintiff,
                                          District Judge Judith E. Levy
    v.
                                          Magistrate Judge Anthony P. Patti
ROCKET COMPANIES, INC., JAY
FARNER, JULIE BOOTH, ROBERT DEAN
WALTERS, and DANIEL GILBERT,

         Defendants.

OWEN ARENT, Individually and On Behalf
of All Others Similarly Situated,         No. 5:21-cv-11618-JEL-APP

          Plaintiff,                      District Judge Judith E. Levy

    v.                                    Magistrate Judge Anthony P. Patti

ROCKET COMPANIES, INC., JAY
FARNER, JULIE BOOTH, ROBERT DEAN
WALTERS, and DANIEL GILBERT,

         Defendants.



   MEMORANDUM OF LAW IN SUPPORT OF MOTION OF CARL SHUPE FOR
             CONSOLIDATION OF RELATED ACTIONS,
             APPOINTMENT AS LEAD PLAINTIFF, AND
           APPROVAL OF SELECTION OF LEAD COUNSEL
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             STATEMENT OF ISSUES PRESENTED PURSUANT TO LR 7.1(d)(2)

       1.       Whether the above-captioned related actions should be consolidated.

       Mr. Shupe’s Answer: Yes.

       2.       Whether Mr. Shupe possesses the largest financial interest in the relief sought by

the Class.

       Mr. Shupe’s Answer: Yes.

       3.       Whether Mr. Shupe has made the required preliminary showing he is a typical and

adequate Class representative.

       Mr. Shupe’s Answer: Yes.

       4.       Whether any opposing movant can offer the required proof to rebut the presumption

that Mr. Shupe is the most adequate plaintiff.

       Mr. Shupe’s Answer: No.

       5.       Whether the Court should approve Mr. Shupe’s selection of Lead Counsel and

Liaison Counsel.

       Mr. Shupe’s Answer: Yes.




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                  CONTROLLING OR MOST APPROPRIATE
         AUTHORITY FOR THE RELIEF SOUGHT PURSUANT TO LR 7.1(d)(2)

         1.   15 U.S.C. § 78u-4(a)(3).

         2.   Pio v. Gen. Motors Co., No. 14-11191, 2014 WL 5421230 (E.D. Mich. Oct. 24,

2014).

         3.   Ruckel v. Ford Motor Co., No. 17-cv-13536, 2018 WL 783534 (E.D. Mich. Feb.

7, 2018).

         4.   H.R. Conf. Rep. No. 104-369 (1995), reprinted in 1995 U.S.C.C.A.N. 730.




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       Proposed Lead Plaintiff Carl Shupe respectfully submits this Memorandum of Law

pursuant to Section 21D(a)(3)(B) of the Securities Exchange Act of 1934 (the “Exchange Act”),

15 U.S.C. § 78u-4(a)(3)(B), as amended by the Private Securities Litigation Reform Act of 1995

(the “PSLRA”), in support of his motion for the entry of an Order: (1) appointing Mr. Shupe as

Lead Plaintiff in the above-captioned action (the “Action”); (2) approving Mr. Shupe’s selection

of Labaton Sucharow LLP (“Labaton Sucharow”) as Lead Counsel for the Class and Allen

Brothers PLLC (“Allen Brothers”) as Liaison Counsel for the Class; and (3) granting such other

and further relief as the Court may deem just and proper.

                                PRELIMINARY STATEMENT

       Carl Shupe respectfully submits that he should be appointed Lead Plaintiff in the Action

on behalf of a class consisting of all purchasers of Rocket Companies, Inc. (“Rocket” or the

“Company”) Class A common stock between February 25, 2021 and May 5, 2021, both dates

inclusive (the “Class Period”), who were damaged thereby (the “Class”). The Action seeks to

recover damages caused by alleged violations of the federal securities laws and to pursue remedies

under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and

Rule 10b-5 promulgated thereunder, against the Company, Jay D. Farner, Julie R. Booth, Robert

Dean Walters, and Daniel Gilbert (collectively, “Defendants”).

       The PSLRA requires that the Court appoint the “most adequate plaintiff” to serve as Lead

Plaintiff. 15 U.S.C. § 78u-4(a)(3)(B)(i). In that regard, the Court must determine which movant

has the “largest financial interest” in the relief sought by the Class, and also whether such movant

has made a prima facie showing that it is a typical and adequate class representative under Federal

Rule of Civil Procedure 23. See 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I).

       For the reasons discussed herein, Mr. Shupe respectfully submits that he is the “most

adequate plaintiff” under the PSLRA and should be appointed Lead Plaintiff. Mr. Shupe incurred
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losses of $434,026.12 on his Class Period transactions in Rocket Class A common stock as

calculated on a last-in-first-out (“LIFO”) basis.1 Accordingly, Mr. Shupe has a substantial

financial interest in directing this litigation and recovering losses attributable to Defendants’

alleged violations of the federal securities laws—an interest believed to be greater than that of any

other qualified movant. In addition to asserting a substantial financial interest in this litigation,

Mr. Shupe also satisfies the relevant requirements of Federal Rule of Civil Procedure 23 because

his claims are typical of all members of the Class, and he will fairly and adequately represent the

Class.

         Finally, pursuant to the PSLRA, Mr. Shupe respectfully requests that the Court approve his

selection of Labaton Sucharow as Lead Counsel for the Class and Allen Brothers as Liaison

Counsel for the Class. See 15 U.S.C. § 78u-4(a)(3)(B)(v) (“[T]he most adequate plaintiff shall,

subject to the approval of the court, select and retain counsel to represent the class”). Labaton

Sucharow is a nationally recognized securities class action firm that has recovered billions of

dollars for the benefit of injured investors, and has the expertise and resources necessary to handle

litigation of this complexity and scale.

         Accordingly, Mr. Shupe respectfully requests that the Court appoint him as Lead Plaintiff

for the Class and approve his choice of Lead Counsel.




1
    Mr. Shupe’s $434,026.12 loss includes $39,943.94 in losses assigned to him by his wife. A copy
    of this assignment and Mr. Shupe’s PSLRA Certification are attached as Exhibits A and C to the
    Index of Exhibits. The Certification sets forth all transactions of Mr. and Mrs. Shupe in Rocket
    Class A common stock during the Class Period. In addition, a table reflecting the calculation of
    financial losses sustained by Mr. and Mrs. Shupe on their Class Period transactions in Rocket
    Class A common stock (“Loss Analysis”) is attached as Exhibit D to the Index of Exhibits.


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                                 FACTUAL BACKGROUND2

        Defendant Gilbert founded Rocket in 1985. ¶ 15. Rocket, based in Detroit, is the largest

mortgage originator in the United States, with an estimated 9.2% market share as of March 31,

2020. Id. The Company operates the Rocket Mortgage online platform, which allows clients to

apply for and service mortgages through the Internet or by using the Company’s proprietary mobile

phone app. Id. Ninety percent (90%) of the Company’s revenues are derived from originating,

closing, selling and servicing home mortgages. Id.

       Rocket’s mortgage origination business generates revenues primarily from the gain on sale

of loans, which includes loan origination fees, revenues from sales of loans into the secondary

market, as well as the fair value of originated mortgage serving rights and hedging gains and losses.

¶ 17. One of the most important metrics in measuring Rocket’s financial performance is the

Company’s gain on sale margin, which refers to the Company’s net gain on sale of loans divided

by the net rate lock volume for the period, excluding all reverse mortgage activity. Id. Net rate

lock volume refers to the unpaid principal balance of loans issued by the Company subject to

interest rate lock commitments, net of certain factors identified by Company. Id. The gain on sale

margin is viewed by investors as a core measure of Rocket’s profitability. Id.

       The Complaint alleges that during the Class Period, Defendants misrepresented and failed

to disclose adverse facts about Rocket’s business, operations and prospects, which were known to

or recklessly disregarded by them, as follows:

               (a) that Rocket’s gain on sale margins were contracting at the highest rate in two

               years as a result of increased competition among mortgage lenders, an unfavorable




2
 The following are as alleged in the Complaint. See ECF No. 1. References to “¶ __” are to
paragraphs of the Complaint.

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               shift toward the lower margin Partner Network operating segment and compression

               in the price spread between the primary and secondary mortgage markets;

               (b) that Rocket was engaged in a price war and battle for market share with its

               primary competitors in the wholesale market, which was further compressing

               margins in Rocket’s Partner Network operating segment;

               (c) that the adverse trends identified above were accelerating and, as a result,

               Rocket’s gain on sale margins were on track to plummet at least 140 basis points in

               the first six months of 2021;

               (d) that, as a result of the above, the favorable market conditions that had preceded

               the Class Period and allowed Rocket to achieve historically high gain on sale

               margins had vanished as the Company’s gain on sale margins had returned to levels

               not seen since the first quarter of 2019;

               (e) that, rather than remaining elevated due to surging demand, Rocket’s Company-

               wide gain-on-sale margins had fallen materially below recent historical averages;

               and

               (f) that as a result of the foregoing, defendants’ positive statements about the

               Company’s business operations and prospects were materially misleading and/or

               lacked a reasonable basis.

¶ 34. On May 5, 2021, Rocket issued a press release announcing its first quarter results and second

quarter outlook. ¶ 35. Rocket reported that it was on track to achieve closed loan volume within

a range of only $82.5 billion and $87.5 billion and gain on sale margins within a range of only

2.65% to 2.95% for the second quarter of 2021. Id. At the mid-point, this gain on sale margin

estimate equated to a 239 basis point decline year-over-year and a 94 basis point decline




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sequentially, which represented the Company’s lowest quarterly gain on sale margin in two years.

Id. The stunning collapse in the Company’s gain on sale margin reflected the fact that the favorable

market conditions purportedly being experienced by the Company during the Class Period had in

fact reversed. Id. During a conference call to explain the results, defendant Booth revealed that

the sharp decline in quarterly gain on sale margin was being caused by three factors: (i) pressure

on loan pricing; (ii) a product mix shift to Rocket’s lower margin Partner Network segment; and

(iii) a compression in price spreads between the primary and secondary mortgage markets. Id.

Defendant Booth also admitted that certain of these trends began “at the end of Q1” – i.e., before

the massive insider sales by RHI. Id.

       As a result of Defendants’ allegedly wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s securities, Mr. Shupe and the Class have suffered

significant losses and damages. See ¶¶ 36-37.

                                          ARGUMENT

I.     THE RELATED ACTIONS SHOULD BE CONSOLIDATED

       There are at least two related actions pending in this District against Defendants: Qaiyum

v. Rocket Companies, Inc., No. 5:21-cv-11528 (E.D. Mich.) and Arent v. Rocket Companies, Inc.,

No. 5:21-cv-11618 (E.D. Mich.) (the “Related Actions”).

       These actions present similar factual and legal issues because they each allege claims under

Sections 10(b) and 20(a) of the Exchange Act, name the same Defendants, and arise out of

substantially similar misstatements. See French v. CBL & Assocs. Props., Inc., 2016 WL 7668501,

at *1 (E.D. Tenn. Sept. 26, 2016) (finding that “consolidation is particularly appropriate in

securities class action litigation”); In re Regions Morgan Keegan Closed–End Fund Litig., 2010

WL 5173851, at *14 (W.D. Tenn. Dec. 15, 2010) (noting that “[c]onsolidation would conserve

judicial resources and allow a more expeditious adjudication of [p]laintiffs’ claims” where two


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securities class actions “raise[d] similar legal and factual issues”). Accordingly, consolidation is

appropriate under Federal Rule of Civil Procedure 42(a).

II.    MR. SHUPE SHOULD BE APPOINTED LEAD PLAINTIFF

       Mr. Shupe respectfully submits that he should be appointed Lead Plaintiff because he filed

the instant motion in a timely manner, has a substantial financial interest in this litigation, and

satisfies the typicality and adequacy requirements of Rule 23.

       A.      The PSLRA Standard for Appointing Lead Plaintiff

       The PSLRA provides a straightforward, sequential procedure for selecting a lead plaintiff

for “each private action arising under [the Exchange Act] that is brought as a plaintiff class action

pursuant to the Federal Rules of Civil Procedure.” See 15 U.S.C. § 78u-4(a)(l); see also 15 U.S.C.

§ 78u-4(a)(3)(B) (setting forth procedure for selecting lead plaintiff).                 First, Section

21D(a)(3)(A)(i) of the Exchange Act, as amended by the PSLRA, specifies that:

               Not later than 20 days after the date on which the complaint is filed,
               the plaintiff or plaintiffs shall cause to be published, in a widely
               circulated national business-oriented publication or wire service, a
               notice advising members of the purported plaintiff class –
               (I) of the pendency of the action, the claims asserted therein, and the
               purported class period; and
               (II) that, not later than 60 days after the date on which the notice is
               published, any member of the purported class may move the court
               to serve as lead plaintiff of the purported class.

15 U.S.C. § 78u-4(a)(3)(A)(i).

       Next, pursuant to the PSLRA, a court is to consider any motion made by class members to

serve as Lead Plaintiff and appoint the “most adequate plaintiff.” 15 U.S.C. § 78u-4(a)(3)(B)(i).

In adjudicating a lead plaintiff motion, a court shall adopt a presumption that the “most adequate

plaintiff” is the person or group of persons who: (1) filed a complaint or timely filed a motion to

serve as Lead Plaintiff, (2) has the largest financial interest in the relief sought by the class, and



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(3) who otherwise satisfies the requirements of Rule 23. See 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I);

see also Pio v. Gen. Motors Co., 2014 WL 5421230, at *2 (E.D. Mich. Oct. 24, 2014) (Parker, J.).

This presumption may be rebutted only by “proof” that the presumptively most adequate plaintiff

“will not fairly and adequately protect the interests of the class” or “is subject to unique defenses

that render such plaintiff incapable of adequately representing the class.” 15 U.S.C. § 78u-

4(a)(3)(B)(iii)(II); see also Gen. Motors Co., 2014 WL 5421230, at *8. Under the framework

established by the PSLRA, Mr. Shupe is the most adequate plaintiff and should be appointed Lead

Plaintiff.

        B.      Mr. Shupe Is the “Most Adequate Plaintiff”

                1.       Mr. Shupe’s Motion Is Timely

        Mr. Shupe filed this motion to serve as Lead Plaintiff in a timely manner. Pursuant to

15 U.S.C. § 78u-4(a)(3)(A)(i), the plaintiff in the first-filed action caused notice regarding the

pending nature of this case to be published on Business Wire, a widely-circulated, national,

business-oriented news wire service, on June 29, 2021. See Index of Exhibits, Ex. E. Thus,

pursuant to the PSLRA, any person who is a member of the proposed Class may apply to be

appointed lead plaintiff within sixty days after publication of the notice, i.e., on or before August

30, 2021. Mr. Shupe filed his motion seeking appointment as Lead Plaintiff within this deadline

and thus has satisfied the procedural requirements of the PSLRA.

                2.       Mr. Shupe Has a Substantial Financial Interest

        The PSLRA requires a court to adopt the rebuttable presumption that “the most adequate

plaintiff . . . is the person or group of persons that . . . has the largest financial interest in the relief

sought by the class.” 15 U.S.C. § 78u-4(a)(3)(B)(iii).

        At the time of filing, Mr. Shupe believes he has the largest financial interest of any Lead

Plaintiff movant. Pursuant to the four factors set forth in Lax v. First Merchants Acceptance Corp.,


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as adopted by this Court, financial interest may be determined by (1) the number of shares

purchased during the class period; (2) the number of net shares purchased during the class period;

(3) the total net funds expended during the class period; and (4) the approximate losses suffered.

See 1997 WL 461036, at *5 (N.D. Ill. Aug. 11, 1997); see also Ruckel v. Ford Motor Co., 2018

WL 783534, at *2 (E.D. Mich. Feb. 7, 2018) (Parker, J.) (utilizing Lax Factors); Gen. Motors Co.,

2014 WL 5421230, at *2 (same). During the Class Period, Mr. Shupe: (1) purchased 27,150 shares

of Rocket Class A common stock; (2) retained all 27,150 shares at the end of the Class Period; (3)

made net expenditures of $936,371.18 on these shares; and (4) as a result of the alleged revelation

of fraud, suffered a loss of $434,026.12. See Loss Analysis, Ex. D.3

          Accordingly, Mr. Shupe has a substantial financial interest as a qualified movant seeking

Lead Plaintiff status, and is the presumptive “most adequate plaintiff.” See 15 U.S.C. § 78u-

4(a)(3)(B)(iii).

                   3.    Mr. Shupe Satisfies Rule 23’s Typicality and Adequacy Requirements

          The PSLRA further provides that in addition to possessing the largest financial interest in

the outcome of the litigation, a lead plaintiff must “otherwise satisf[y] the requirements of Rule 23

of the Federal Rules of Civil Procedure.” 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I)(cc). “At this stage of

the litigation, however, ‘all that is required is a ‘preliminary showing that the lead plaintiff’s claims

are typical and adequate [of the class].”’ Ford Motor Co., 2018 WL 783534, at *2 (citation

omitted). Here, Mr. Shupe satisfies both requirements.

          Mr. Shupe’s claims are typical of the claims asserted by the proposed Class. “Rule 23’s

‘typicality’ requirement is met if the plaintiff’s claims ‘arise[] from the same event or practice or

course of conduct that gives rise to the claims of other class members, and if his or her claims are



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    As set forth supra, Mr. Shupe’s claims includes those assigned to him by his wife.

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based on the same legal theory.’” Gen. Motors Co., 2014 WL 5421230, at *4 (quoting In re Am.

Med. Sys., Inc., 75 F.3d 1069, 1082 (6th Cir. 1996)). Here, like all members of the Class, Mr.

Shupe alleges that Defendants made material misstatements and omissions regarding the

Company’s business, operations, and prospects. Mr. Shupe, as did all of the members of the Class,

purchased Rocket Class A common stock in reliance on Defendants’ alleged misstatements and

omissions and was damaged thereby. Accordingly, because Mr. Shupe’s claims arise out of the

same course of events and relies on the same legal theories as do the claims of other Class

members, the typicality requirement is satisfied.

       Mr. Shupe likewise satisfies the adequacy requirement of Rule 23. “The . . . ‘adequacy’

requirement is satisfied where the representative ‘ha[s] common interests with those of unnamed

class representatives’ and is ‘capable of vigorously prosecuting the action with the assistance of

qualified counsel.’” Id. (quoting Am. Med. Sys., 75 F.3d at 1082). As applied, Mr. Shupe will

fairly and adequately represent the interests of the proposed Class. Indeed, “unlike investors with

a nominal financial interest in the class action,” Mr. Shupe has “the incentive to monitor the

litigation, control lead counsel, and police any proposed settlement.” Ford Motor Co., 2018 WL

783534, at *3. Moreover, Mr. Shupe has also retained counsel highly experienced in prosecuting

securities class actions vigorously and efficiently, see infra Section II, and timely submitted his

choice to the Court for approval, in accordance with the PSLRA. See 15 U.S.C. §§ 78u-

4(a)(3)(A)(i)(II) and (B)(v). On this point, Mr. Shupe unquestionably has the sophistication,

resources, and experience sufficient to pursue the above-captioned action to a successful

conclusion, including through the effective oversight of counsel. Finally, there is no proof that

Mr. Shupe is “subject to unique defenses that render such plaintiff incapable of representing the




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class,” because no such proof exists. 15 U.S.C. § 78u-4(a)(3)(B)(iii)(II). Accordingly, Mr. Shupe

satisfies the adequacy requirement.

III.   MR. SHUPE’S SELECTION OF LEAD COUNSEL MERITS APPROVAL

       The PSLRA vests authority in the lead plaintiff to select and retain lead counsel, subject to

the court’s approval. See 15 U.S.C. § 78u-4(a)(3)(B)(v); In re Cendant Corp. Litig., 264 F.3d 201,

276 (3d Cir. 2001) (stating that “the Reform Act evidences a strong presumption in favor of

approving a properly-selected lead plaintiff’s decisions as to counsel selection and counsel

retention”). Consistent with Congressional intent, a court should not disturb the lead plaintiff’s

choice of counsel unless it is “necessary to protect the interests of the plaintiff class.” See H.R.

Conf. Rep. No. 104-369, at 35 (1995), reprinted in 1995 U.S.C.C.A.N. 730, 734.

       Here, Mr. Shupe has selected the law firm of Labaton Sucharow to represent the Class as

Lead Counsel. Labaton Sucharow has excelled as lead counsel in numerous actions on behalf of

defrauded investors. For example, Labaton Sucharow served as lead counsel in In re American

International Group, Inc. Securities Litigation, No. 04-cv-08141 (S.D.N.Y.), in which it achieved

a recovery totaling more than $1 billion for injured investors; and secured a $294.9 million

recovery in In re Bear Stearns Cos., Inc. Securities, Derivative, & ERISA Litigation, No. 08-md-

01963 (S.D.N.Y.), in which the Firm served as co-lead counsel. Labaton Sucharow also served as

co-lead counsel in In re Satyam Computer Services Ltd. Securities Litigation, No. 09-md-02027

(S.D.N.Y.), through which it helped recover from the company and its auditors a total of $150.5

million for class members, and secured a $170 million recovery as co-lead counsel in In re Fannie

Mae 2008 Securities Litigation, No. 08-cv-07831 (S.D.N.Y.). Labaton Sucharow presently serves

as lead or co-lead counsel in several significant investor class actions. See Labaton Sucharow Firm

Resume, Ex. F. Furthermore, Mr. Shupe has retained the Thornton Law Firm LLP to assist in the

prosecution of the litigation at Labaton Sucharow’s direction.


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        Likewise, Allen Brothers is well qualified to represent the Class as Liaison Counsel. It

maintains an office in this District, and is thus well qualified to represent the Class as Liaison

Counsel. See Manual for Complex Litigation (Fourth) § 10.221 (2004) (discussing role of liaison

counsel and noting that “[l]iaison counsel will usually have offices in the same locality as the

court.”).

        In light of the foregoing, the Court should approve Mr. Shupe’s selection of Labaton

Sucharow as Lead Counsel for the Class and Allen Brothers as Liaison Counsel for the Class. The

Court can be assured that, by approving his choice of counsel, the Class will receive the highest

caliber of representation.

                                        CONCLUSION

        For the foregoing reasons, Mr. Shupe respectfully requests that the Court grant his motion

and enter an Order: (1) consolidating the above-captioned related actions; (2) appointing Mr.

Shupe as Lead Plaintiff; (3) approving his selection of Labaton Sucharow as Lead Counsel for the

Class and Allen Brothers as Liaison Counsel for the Class; and (4) granting such other and further

relief as the Court may deem just and proper.



DATED: August 30, 2021                       Respectfully Submitted,

                                             /s/ James P. Allen, Sr.
                                             James P. Allen, Sr. (P52885)
                                             Neil B. Pioch (P67677)
                                             ALLEN BROTHERS PLLC
                                             400 Monroe Street, Suite 620
                                             Detroit, Michigan 48226
                                             Telephone: (313) 962-7777
                                             Facsimile: (313) 962-0581
                                             jamesallen@allenbrotherspllc.com
                                             neilpioch@allenbrotherspllc.com

                                             Proposed Liaison Counsel for the Class



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                                   Christopher J. Keller (pro hac vice forthcoming)
                                   Eric J. Belfi (pro hac vice forthcoming)
                                   Francis P. McConville (pro hac vice forthcoming)
                                   LABATON SUCHAROW LLP
                                   140 Broadway
                                   New York, New York 10005
                                   Telephone: (212) 907-0700
                                   Facsimile: (212) 818-0477
                                   ckeller@labaton.com
                                   ebelfi@labaton.com
                                   fmcconville@labaton.com

                                   Counsel for Proposed Lead Plaintiff,
                                   and Proposed Lead Counsel for the Class

                                   Guillaume Buell (pro hac vice forthcoming)
                                   THORNTON LAW FIRM LLP
                                   One Lincoln Street
                                   Boston, Massachusetts 02111
                                   Telephone: (617) 720-1333
                                   Facsimile: (617) 720-2445
                                   gbuell@tenlaw.com


                                   Additional Counsel for Proposed Lead Plaintiff




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on August 30, 2021, I authorized the electronic filing of the foregoing

paper with the Clerk of the court using the ECF system which will send notification of such filing

to all counsel of record registered for electronic filing.

                                                              /s/ James P. Allen, Sr.
                                                              James P. Allen, Sr. (P52885)
